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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :      Case No. 21-cr-0004 (CKK)
                                            :
LONNIE COFFMAN,                             :
                                            :
                      Defendant.            :


                               NOTICE REGARDING HEARING

       The United States respectfully submits this notice in response to the Court’s order of

September 3, 2021.    The parties have reached an agreement to resolve this case prior to trial

through a plea agreement, and the parties anticipate that the September 29, 2021, hearing can be

converted to a plea hearing.



                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            DC Bar No. 415793


                                    By:               /s/
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